Case 23-30672-5-wak            Doc 53      Filed 03/10/25 Entered 03/10/25 18:07:40     Desc Main
                                          Document     Page 1 of 4



  UNITED STATES BANKRUPTCY COURT
  NORTHERN DISTRICT OF NEW YORK
  -----------------------------------------------------x
  In re:
                                                              Case No. 23-30672-5-wak
  Joseph A. DiMino, Jr,
                                                              Chapter 13
                         Debtor.
                                                              HON. WENDY A. KINSELLA
  -----------------------------------------------------x

                        MOTION FOR RELIEF FROM AUTOMATIC STAY

 TO:     THE HONORABLE WENDY A. KINSELLA
         UNITED STATES BANKRUPTCY JUDGE

         Movant, MOVEMENT MORTGAGE, LLC, BY SERVICE MAC, LLC, ITS APPOINTED

 ATTORNEY IN FACT (the “Movant”), by and through the undersigned counsel, hereby moves

 this Court, pursuant to 11 U.S.C. § 362(d)(1) for a modification of the automatic stay provisions

 for cause, and, in support thereof, states the following:

         1.       Joseph A. DiMino, Jr, (the “Debtor”), filed a voluntary petition pursuant to

 Chapter 13 of the United States Bankruptcy Code on September 20, 2023.

         2.       On September 14, 2021, Joseph DiMino executed and delivered a Promissory

 Note (“Note”) and a Mortgage (“Mortgage”) securing payment of the Note in the amount of

 $416,361.00 to Movement Mortgage, LLC. The Mortgage, encumbering the real property located

 at 4815 Lepinske Farm Place, Clay, NY 13041 (the “Property”), was recorded on September 21,

 2021 as Instrument Number 2021-00044931 of the Public Records of Onondaga County, New

 York. Thereafter, the Note and Mortgage were transferred to Movant by an Assignment of

 Mortgage and properly endorsed Note. True and accurate copies of documents establishing a

 perfected security interest and ability to enforce the terms of the Note are attached hereto as



                                                                                      23-30672-5-wak
                                                                                                MFR
                                                                                             Page #1
Case 23-30672-5-wak        Doc 53    Filed 03/10/25 Entered 03/10/25 18:07:40             Desc Main
                                    Document     Page 2 of 4



 Composite Exhibit “A.”       The documents include copies of the Note with any required

 indorsements, Recorded Mortgage, Modification, Assignment(s) of Mortgage, and any other

 applicable documentation supporting the right to seek a lift of the automatic stay and foreclose, if

 necessary.

        3.      Secured Creditor is the holder of the note (“noteholder”), and is either the original

 mortgagee, beneficiary or assignee of the security instrument for the referenced loan. Noteholder

 directly or through an agent has possession of the promissory note and the promissory note is

 either made payable to noteholder or has been duly endorsed.

        4.      The terms of the aforementioned Note and Mortgage have been in post-petition

 default, and remain in default. Debtor has failed to make the current monthly mortgage payments

 due to Movant under the terms of the modified Mortgage. According to Movant’s Relief from

 Stay-Real Estate and Cooperative Apartments Worksheet (“Worksheet”), as of March 7, 2025,

 the Mortgage is due for the July 1, 2024 through the March 1, 2025 payments, each payment in

 the amount of $3,334.08, less a suspense balance of $2,828.16, for a total of $27,178.56 due to

 Movant in missed payments. Based on the Movant’s statement the total amount due is

 $402,732.19. A true and accurate copy of the Worksheet is attached hereto as Exhibit “B.”

        5.      That by failing to make mortgage payments, the Debtor has failed to provide

 Movant with adequate protection for its security, entitling Movant, its successors and/or assigns,

 to relief from the automatic stay pursuant to 11 U.S.C. § 362(d)(1).

        6.      Based on the Debtor’s Schedule A/B dated September 20, 2023, the value of the

 Property is $486,577.00. A copy of the Debtor’s Schedule A/B, which is a permissible property

 valuation under Fed. R. Evid. 803(8) is attached hereto as Exhibit “C.”



                                                                                         23-30672-5-wak
                                                                                                   MFR
                                                                                                Page #2
Case 23-30672-5-wak        Doc 53     Filed 03/10/25 Entered 03/10/25 18:07:40               Desc Main
                                     Document     Page 3 of 4



        7.      Based upon the Debtor’s Chapter 13 Confirmed Plan (Docket No. 4), the property

 is treated outside the plan and Secured Creditor will receive payments directly.

        8.      Movant’s security interest in the Property is being jeopardized by Debtor’s failure

 to comply with the terms of the subject loan documents while Movant is prohibited from

 pursuing lawful remedies to protect such interest. Movant has no protection against the erosion

 of its Property position and no other form of adequate protection is provided.

        9.      If Secured Creditor is not permitted to enforce its security interest in the collateral

 or be provided with adequate protection, it will suffer irreparable injury, loss, and damage.

        10.     Secured Creditor respectfully requests the Court grant it relief from the Automatic

 Stay in this case pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of

 adequate protection to Secured Creditor for its interest in the above stated collateral.

        11.     Once the stay is terminated, the Debtors will have minimal motivation to insure,

 preserve, or protect the collateral; therefore, Secured Creditor requests that the Court waive the

 14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).

        12.     If Movant is not permitted to enforce its security interest in the Property or be

 provided with adequate protection, it will suffer irreparable injury, loss, and damage.

        13.     The Trustee shall be notified of any surplus monies realized upon sale of the

 property in a foreclosure proceeding brought by Movant.

        14.     Movant requests approval of legal fees in the amount of $450.00 if granted on

 default and $550.00 if settled with a conditional order and costs in the amount of $199.00

 associated with this motion. Such fees and costs would not be collectable from the Debtor or

 chargeable to the Debtor’s bankruptcy estate.



                                                                                            23-30672-5-wak
                                                                                                      MFR
                                                                                                   Page #3
Case 23-30672-5-wak        Doc 53    Filed 03/10/25 Entered 03/10/25 18:07:40             Desc Main
                                    Document     Page 4 of 4



        15.     No previous application has been made for the relief request herein.




        WHEREFORE, Movant, prays this Honorable Court enter an order modifying the

 automatic stay under 11 U.S.C. § 362(d)(1) to permit Movant to take any and all steps necessary

 to exercise any and all rights it may have in the collateral described herein, to gain possession of

 said collateral, and for any such further relief as this Honorable Court deems just and appropriate.



 DATE:March 10, 2025
      Westbury, NY
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                                               AND PARTNERS, PLLC
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                                               By: /s/ _Suzanne Youssef__________________
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                                                                                         23-30672-5-wak
                                                                                                   MFR
                                                                                                Page #4
